Case 4:11-cr-00211-JM Document 363 Filed 12/12/13 Page 1 of 7
Case 4:11-cr-00211-JM Document 363 Filed 12/12/13 Page 2 of 7
Case 4:11-cr-00211-JM Document 363 Filed 12/12/13 Page 3 of 7
Case 4:11-cr-00211-JM Document 363 Filed 12/12/13 Page 4 of 7
Case 4:11-cr-00211-JM Document 363 Filed 12/12/13 Page 5 of 7
Case 4:11-cr-00211-JM Document 363 Filed 12/12/13 Page 6 of 7
Case 4:11-cr-00211-JM Document 363 Filed 12/12/13 Page 7 of 7
